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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

SOUTH CAROLINA COASTAL                 )
CONSERVATION LEAGUE et al.,            )
                                       )
      Plaintiffs,                      )
                                       )
              v.                       )                    No. 2:18-cv-03326-RMG
                                       ).                  (Consolidated with 2:18-cv-3327-RMG)
WILBUR ROSS, IN HIS OFFICIAL           )
CAPACITY AS THE SECRETARY OF           )
COMMERCE, et al.,                      )
                                       )
      Defendants.                      )
_______________________________________)

       RESPONSE OF PLAINTIFFS-INTERVENORS STATES OF MARYLAND,
       CONNECTICUT, DELAWARE, MAINE, NEW JERSEY, NEW YORK, AND
        NORTH CAROLINA AND COMMONWEALTHS OF MASSACHUSETTS
          AND VIRGINIA TO FEDERAL DEFENDANTS’ STATUS REPORT

       In response to the Status Report (ECF 281) filed by the Federal Defendants in response to

the Court’s order dated May 2, 2019 (ECF 266), Plaintiffs-Intervenors the States of Maryland,

Connecticut, Delaware, Maine, New Jersey, New York, and North Carolina and the Common-

wealths of Massachusetts and Virginia (“the States”) respectfully state as follows:

       1.      The Court requested that the Federal Defendants provide a status report regarding

“what impact, if any, Secretary Bernhardt’s announcement has on this case, including on the pend-

ing permit requests.” ECF 266. Although that report hedges on the status of the 2019-2024 Na-

tional Outer Continental Shelf (OCS) Oil and Gas Leasing Program, it makes one thing crystal-

clear: the Bureau of Ocean Energy Management (BOEM) has continued to process permits for the

seismic testing activities at issue in this case. ECF 281, at 2 (stating that “the permit applications

submitted by Spectrum GEO Inc., TGS-NOPEC Geophysical Company, ION GeoVentures, West-
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ernGeco, LLC, and CGG are still under review by BOEM and the Department of Interior”). Ac-

cordingly, preliminary injunctive relief remains every bit as necessary as it was prior to the Secre-

tary’s announcement.

       2.      The Federal Defendants state that the Department of the Interior “is evaluating

what, if any, effect” the decision in League of Conservation Voters v. Trump “may have on plan-

ning for OCS lease sales in the National OCS Oil and Gas Leasing Program.” ECF 281, at 2. They

further state that “[t]he Department of Interior is reviewing all its options,” without providing any

indication of how long that review will take. Id. To the extent that the Department’s review and

evaluation result in a delay in the issuance of a Proposed Program for 2019-2024, as recent media

reports have indicated, that delay undercuts any argument that it is urgent to conduct seismic test-

ing now, and underscores that an injunction would serve the public interest. See ECF 148-1, at 6-

7.

       3.      The Federal Defendants assert that “[e]ntities seeking to conduct geological and

geophysical surveys can . . . obtain a permit in any area of the OCS, including those areas that have

been withdrawn from leasing,” ECF 281, at 2 (emphasis in original), and that League of Conser-

vation Voters v. Trump “has no legal effect on any proposed seismic activities (in the Atlantic OSC

or elsewhere),” id. at 1-2. The States reserve the right to respond more fully once they can evaluate

these assertions in the concrete setting of any permits that BOEM issues. At an absolute minimum,

however, the permanent withdrawal of particular areas from oil and gas leasing necessarily means

that seismic testing for oil and gas in those areas would be “unduly harmful to aquatic life,” 43

U.S.C. § 1340(a) (emphasis added), and thus barred by statute. See id. (allowing Secretary of the

Interior to authorize “geological and geophysical explorations” on the OCS only if, among other

things, those explorations “are not unduly harmful to aquatic life in such area”); cf. ECF 282-3, at




                                                 2
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2 (BOEM Director’s January 5, 2017 instruction to deny seismic testing permits “in light of the

removal of the Atlantic from consideration for leasing during the next five years”). Because the

only purpose of such testing is to explore for oil and gas, any harm to aquatic life resulting from

testing in withdrawn areas necessarily would be “undue.” In addition, although the statute does

contemplate testing in areas that have not been leased, see 43 U.S.C. § 1340(a)(1)-(2), it does not

follow—nor would it be logical to conclude—that BOEM may authorize testing in areas, including

those in the Atlantic Ocean, that have been permanently removed from leasing. See League of

Conservation Voters v. Trump, 363 F. Supp. 3d 1013, 1031 & n.97 (D. Alaska 2019) (making clear

that specified withdrawals, including the December 2016 withdrawal of certain areas off of the

Atlantic coast, “will remain in full force and effect”).

       4.      In all events, and as explained above, no aspect of the Federal Defendants’ status

report diminishes the need for preliminary injunctive relief.

May 17, 2019                                          Respectfully submitted,




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